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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

REGINALD EDWARDS                                 §

VS.                                              §                CIVIL ACTION NO. 1:20cv204

CLARA OWENS                                      §

                     ORDER ADOPTING THE MAGISTRATE JUDGE’S
                         REPORT AND RECOMMENDATION

       Plaintiff Reginald Edwards, proceeding pro se, brought this civil rights lawsuit. The Court

referred this matter to the Honorable Zack Hawthorn, United States Magistrate Judge. The

Magistrate Judge has submitted a Report and Recommendation of United States Magistrate

Judge. The Magistrate Judge recommends dismissing the lawsuit without prejudice pursuant to

Federal Rule of Civil Procedure 41(b).

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record and pleadings. Proper notice was given to plaintiff at his

last known address. See FED. R. CIV. P. 5(B)(2)(C). The copy of the Report and Recommendation
sent to plaintiff was returned with a notation indicating plaintiff has been released. Plaintiff has

failed to provide the Court with a new address, in contravention of Local Rule CV-11(d). No

objections were filed to the Report and Recommendation.

                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ADOPTED as the opinion of the Court. A final judgment

shall be entered in accordance with the recommendation of the Magistrate Judge.

                                   SIGNED this 26th day of September, 2020.




                                                                 ____________________________
                                                                 Michael J. Truncale
                                                                 United States District Judge
